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GALAXY MeExUS

Android mobile technology platform 4.0
User’s Guide

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Get started

Set up your phone

For instructions on using your phone's buttons, charger, battery, and other hardware features, check the
printed Quick Reference Guide that came with your phone.

The first time you turn on the phone, you'll see a Welcome screen.
> Tochoose a different language, touch the menu.

> Tosetup your phone, touch Start and follow the instructions.

A series of screens takes you through the setup process. If you already have Gmail, use your Gmail
address and password when asked. If you don't have Gmail or any other Google Account, go ahead and
create one.

As you go through the setup screens, you have the option to skip some steps. To set up options you
skipped, or for more information, see these topics:

Why use a Google Account?
Connect to mobile networks
Connect to Wi-Fi networks

Google+ Help

Add or remove accounts
Case 5:12-cv-00630-LHK Document 17-5 Filed 02/08/12 Page 9 of 50

Why use a Google Account?

A Google Account lets you organize and access your personal information from any computer or mobile
device:

>

Never lose your contacts again. When you sign in to your phone with a Google account, all the
contacts you associate with that account in the People app are automatically backed up. As a result,
they're always accessible through your Gmail account from any computer.

> Synchronize and back up everything. Whether you draft an email, add a contact's phone
number, add an event to your calendar, or take a photo, your work gets backed up continuously by
Google and synchronized with any computer where you use the same Google Account.

Access from anywhere. Check your latest calendar, email, text messages, or social stream,
wherever you are, no matter what computer or mobile device you're using.

» Keep your stuff secure and available. Google works round the clock to protect your personal
data from unauthorized access and to ensure that you get it when you need it, wherever you need it.

» Use other Google services. Your Google Account also lets you take full advantage of any other
Google apps and services that you may want to use, such as Gmail, Google Maps, Navigation,
Android Market, YouTube, Google Talk, Messaging, and many more.

Related topic

Add or remove accounts
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Get around

After you finish setting up your phone, Home opens.

At the bottom of the screen, you'll find three Navigation buttons. They're always available. No matter
what you're doing with your phone, you can always get back to the main Home screen or return to

previous screens:

Icon Name _ Description

oS Back Opens the previous screen you were working in, even if it was in a different app.
Once you back up to the Home screen, you can't go back any further in your
history.

CO Home Opens Home. If you're viewing a left or right Home screen, opens the
central Home screen.

yl Recent Opens a list of thumbnail images of apps you've worked with recently.

apps Toopenanapp, touch it. To remove a thumbnail from the list, swipe it left or
right.

After a short time without getting used, these buttons may shrink to dots or fade away, depending on the
current app. To bring them back, touch their location.
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Just above the Navigation buttons, notice the Favorites tray:

The app icons you keep in the tray remain visible on every Home
screen.

The All Apps icon in the center is permanent. Touch it to
see all your apps and widgets.

The middle of your Home screen can hold app and widget icons, plus folders.
> Toopenan app, folder, or widget, touch its icon.

> Tosee additional Home screens, swipe your finger quickly left or right.
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At the top of the screen, you'll see something like this: FT Le

Status icons on the left tell you which apps have sent you U
notifications; for example, that a message has arrived, or
it's time for a meeting.

> Tosee your notifications, swipe your finger down from the top of the screen.

System icons on the right display the current wireless and network connection strength, battery level,
time, and more.

Google Search, just below the status and system icons, lets you search your phone or the Internet.
Touch Google to type your search terms, or J to speak them.

Related topics

Manage notifications

Arrange & work with apps
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Touch & type

Use your fingers to manipulate icons, buttons, menus, the onscreen keyboard, and other items on the
touchscreen. You can also change the screen's orientation.

To select or activate something, touch it.

To type something, such as a name, password, or search terms, just touch where you want to type. A
keyboard pops up that lets you type into the field.

Other common gestures include:

> Touch & hold: Touch & hold an item on the screen by touching it and not lifting your finger until an
action occurs.

P Drag: Touch & hold an item for a moment and then, without lifting your finger, move your finger on
the screen until you reach the target position. For example, you can drag to reposition shortcuts on
the Home screen.

> Swipe or slide: Quickly move your finger across the surface of the screen, without pausing when
you first touch (so you don't drag something instead). For example, you can slide a Home screen left
or right to view the other Home screens.

> Double-tap: Tap quickly twice on a webpage, map, or other screen to zoom. For example, double-
tap a webpage in Browser to zoom in, and double-tap again to zoom out.

> Pinch: In some apps (such as Maps, Browser, and Gallery), you can zoom in and out by placing two

fingers on the screen at once and pinching them together (to zoom out) or spreading them apart (to
zoom in).
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» Rotate the screen: On most screens, the orientation of the screen rotates with your device as you
turn it. You can change this Display setting.

Related settings

Settings > Device > Sound

Settings > Device > Display

Related topic
Use the keyboard
Case 5:12-cv-00630-LHK Document 17-5 Filed 02/08/12 Page 15 of 50

Use the lock screen

Important

To protect personal information, you can adjust your phone's lock settings:
1 From the Home or All Apps screen, touch the Settings icon

2 Scroll down and touch Security.

3 Touch Screen lock.

4 Touch the type of lock you'd like to use.

After you set a lock here, a lock screen displays whenever your screen wakes up, requesting the pattern,
PIN, or other specified key.

Screen lock options are listed in the approximate order of the strength of their security, starting with None and Slide,
which provide no security. Face Unlock and Pattern provide minimal security, although they can be more convenient
than the stronger options.

If your phone's playing music when the screen locks, you can continue listening or pause the selection
without unlocking.

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Tip

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While the screen is locked, you can respond to incoming calls in three ways. Touch the white phone icon
and slide over one of these icons:

Answer call Start talking to the caller.

Send to
Direct the caller to leave a voicemail message.
voicemail
Senda
message Opens a list of default text messages. Touch one to send it to the caller immediately.

To edit text responses from within the Phone app, touch Menu icon n > Settings > Quick responses,

Related topic

Set screen lock
Case 5:12-cv-00630-LHK Document 17-5 Filed 02/08/12 Page 17 of 50

Search your phone & the web

Tip

Google Search can help you find anything you need on your phone or the web:

> Atthe top of any Home screen, touch Google to type your search term, or the Microphone
button & to speak it.

As you type, suggestions from Google web search appear below the Search box, and results from your
phone (such as apps and contacts) below that.

Touch a suggestion to search for it immediately, or touch its arrow just to add the term to the search field
without starting to search.

To change the way Google searches on your phone or the web:

1 Touch Google at the top of the screen.

2 Touch the Menu icon fl in the upper right corner of the screen.
3. Touch Search settings.

4 Touch Searchable items or Google Search.

In addition to speaking search terms, you can use Voice Actions to call your contacts, get directions, send messages,
and perform a number of other common tasks by speaking.

Related topics
Refine Google Search
Use Voice Actions
Voice Action commands

13
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Make yourself at home

Change the wallpaper

14

Wallpapers are images from Gallery (pictures you shot with Camera, synced from Picasa, and so on), still
images included with the system, and live images (such as an animation or a map that centers on your
location). They take the place of the default background for your Home screens.

1 Touch & hold anywhere on a Home screen that's not occupied.
A list of options appears.
2  Jouch a wallpaper source:
Gallery. Choose from pictures that you've taken with Camera or downloaded to your device.
Live Wallpapers. Choose froma scrolling list of animated wallpapers.
Wallpapers. Choose from thumbnails of default images, or touch a thumbnail for a larger version.
You can download additional wallpapers from Android Market.

3  Toseta wallpaper, touch OK at the top of the screen (for Gallery images) or Set wallpaper.

Related settings
Settings > Device > Display > Wallpaper
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Set ringtone & other sounds

Your phone uses sounds and vibrations to communicate with you, including ringtones, notifications,
alarms, and navigation feedback. You can customize any of these sounds, as well as controlling their
volume and the volume for music, videos, games, and other media.

Change default ringtone
To change the default ringtone for incoming calls:

1 FromathHome or All Apps screen, touch the Settings icon fm.

2 Touch Device > Sound > Phone ringtone.
Touch a ringtone to select and hear it. Touch OK to confirm your final selection.
To adjust the ringtone for an individual caller, go to that person's contact card in the People app,
touch Menu for that card, and then Set ringtone.
Set ringtone to Vibrate
You have several options for controlling when your phone vibrates. To turn Vibrate on or off easily for
incoming calls, follow these steps:

P Toactivate Vibrate, press the Volume key (on the left side of your phone) down until you feel the
phone vibrate. To resume normal ringing, press the Volume key up.

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Change other Sound settings

To change other sounds and vibrations, go to Settings > Device > Sound and touch the one you want:

>

Vv

Volumes sets the master volume separately for music, ringtones & notifications, and alarms. You
can still use the physical volume control on the phone to raise or lower volume of whatever sound is
currently playing.

Vibrate controls vibration feedback across the entire phone.
Silent mode turns off all sounds.

Default notification announces the arrival of notifications unless you specify a different sound in
an individual app.

System settings control feedback sounds and vibrations for standard actions performed with your
phone.
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Make a phone call

1 Touch the Phone icon Re on the Home or All Apps screen.

If the Phone app opens to a list of numbers instead of the keypad, swipe left or touch the c. tab to
return to the keypad.

2 Touch the keys to enter the number.
3. Touch c below the keypad to dial.

You can switch applications during a call; for example, to look up information by using the Browser. The
green phone icon appears in the Status bar while the call is underway.

To return to the Phone app while a call is in progress:

1 Swipe down from the top of the screen to reveal your notifications.
2 Touch the name of the person you're calling, beside the phone icon.
To end a call in progress, touch at the bottom of the screen.

Related topics

Dial stored numbers
Answer or divert calls

17
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Get your contacts

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If you have a Google Account, any contacts associated with that account are automatically backed up by
Google. This means all your contacts are always available on the web and can be synced to any Android
phone that's set up with the same account.

As aresult, even if you lose your phone, switch to a new phone, or use a desktop computer, your contacts
are always available.

To get your phone numbers and other contact information into your Google account, you have several
options:
> |mport your contacts directly into your phone from your SIM card. See the instructions below.

Use adesktop computer to import both your email and your contacts from another email account
into your Gmail account. See Import email and contacts.

Use adesktop computer to export your contacts from applications like Outlook or the Mac Address
Book as a text file, then import them into your Google Account through a desktop browser, Two
common text file formats used for this purpose produce files that end with .csv or .vcard. See
Importing CSV files or Importing vCard files.

> Use adesktop computer to export your contacts as a text file, then import them directly into your
phone.

Regardless of the method, you only need to import your contacts once. After you start using a Google
Account, all your contacts stay in sync, even if you get anew phone or other mobile device. To view your
contacts:
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> On your phone: use the People app (J.

> Froma browser ona desktop computer: Go to google.com/contacts. If you aren't already logged in,
you need to provide your Gmail address and password.

To import contacts from a SIM card:
Install the SIM card with your contacts on it in your new phone.
From a Home or All Apps screen, open the People app Cy.

Touch Menu icon n > Import/Export.

Ba GOK) TS) | es

Touch Import from SIM card.
If asked to choose an account, touch the one where you want to add the contacts.

5 To import contacts one at a time, touch them.
To import all at once, touch Menu icon eB > Import All.

Related topic
Find People

19
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Arrange & work with apps

20

To see all your apps, touch the All Apps icon on any Home screen.

The main All Apps screen opens. This is where you can see all your apps, including those downloaded
from Android Market. You can move app icons to any of your Home screens.

From All Apps, you can

>
>
>

>

>
>

Move between screens: Swipe left or right.
Launch an app: Touch its icon.

Place an app icon on a Home screen: Touch & hold the app icon, slide your finger, and lift your
finger to drop the icon in place.

Place an app icon in the Favorites tray: Touch, hold, & slide to move one of the Favorites icons
out of the tray. Then use the same technique to move another one into the same position.

Explore your widgets: Touch the Widgets tab at the top of any All Apps screen.

Get more apps. Touch the Market icon.

To remove an app icon from the Home screen, touch and hold it, slide your finger toward the top of the
screen, and drop the app over the Remove icon jg .

Note TheAll Apps icon in the Favorites tray is permanent. You can't move it.
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Use folders

You can combine several app icons in a folder. Drop one app icon over another on a Home screen, and
the two icons will be combined.

From any Home screen, you can
> Opena folder: Touch it. The folder opens:

> Rename a folder: Touch its name.

sie) 8) (=) ehnirI

» Moveicons around your Home screens: Touch, hold, and slide.
Ulnar Mme) (elas

Tips

> Tocanseeasmaller collection of frequently used apps, touch the Google Apps folder near the
bottom of the screen. As with any folder, you can customize its contents.

» After you open an app, you can usually adjust its settings by choosing items from its Menu icon L
near the top or bottom of the screen.

Related topic
Add widgets

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Add widgets

22

Widgets are like windows into your apps. They're available from an All Apps tab for you to move onto your
Home screens.

To see your widgets:

1 Touch the All Apps icon on your Home screen.
2 Touch Widgets at the top of the screen.

From the main Widgets screen, you can

» Move between screens: Swipe left or right.

> Drag a widget toa Home screen: Touch and hold the widget's icon, slide your finger where you
want to place it, and lift your finger.

You may be asked to make further choices before the widget activates. If there isn't room where you
dropped it, the widget won't get added to the Home screen.

Related topic

Arrange & work with apps
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Manage notifications

Tip

Notifications report the arrival of new messages, calendar events, and alarms, as well as ongoing events,
such as when you've configured your phone as a Wi-Fi hotspot.

When you receive a notification, its icon appears in the top left corner of the screen. Depending on your
Sound settings, you may also hear a sound.

» See your notifications: Swipe your finger down from the top of the screen.
> Respond to a notification: Touch it.

© Dismiss a notification: Swipe it sideways.

> Dismiss all notifications: Touch the X in the top right corner.

When the list of notifications is open, you can also get to Settings by touching the Quick Settings icon — at the top of
the list. This provides a quick way to get to Settings from any screen, ;

Most apps that send notifications, such as Gmail and Google Talk, have notification settings that you can
adjust.

Related settings

Settings > Device > Sound

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Try some apps

Start Gmail

24

You can use Gmail to read and write email from any mobile device or browser. All your email is always up
to date and available no matter where you check it from.

But Gmail is not just about email. Your Gmail name and password signs you into to all Google apps and
services, including Calendar; People, for keeping track of your contacts; Picasa, for storing and
organizing your pictures; Google Reader, for keeping up with your online reading; Google Documents, for
working with documents, spreadsheets, or drawings; and many more.

» Tolaunch Gmail, touch the Gmail icon ~~ onaHome or All Apps screen.

The first time you launch Gmail, you're asked to sign in or create an account, if you didn't already do so
when you first set up your device. Then Gmail opens to the Inbox. From here, you can

> Read email. Touch a message to read it. Unread messages are bold.
While you're reading a message:

@ ouch the icons and menu along the bottom of the screen to archive, throw away, label, or per-
form other actions on that message.

@ Swipe left or right to read the previous or next conversation.
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> Organize email. Check the box beside a message to select it. Then use the icons and menu along
the bottom of the screen to manage the selected messages.

» Change your settings. Touch the Menu icon f to change your preferences, add an account, or get
Help.

No matter where you are within Gmail, you can always get back to the Inbox by touching §VF in the top
left corner of the screen.

Related topic

Why use a Google Account?

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Find People

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The People app gives you quick and easy access to everyone you want to reach. When you first turn on
your phone and sign into a Google Account, any existing contacts from that account are synced with
your People app. After that, all your contacts stay in sync automatically, whether you make changes on
your phone, from another device, or from any Web browser.

If you belong to Google+ or use Exchange, you can also sync that contact information with People.

All your People information is available from Gmail, Google Talk, Messenger, Phone, and other apps
where it's useful. As you add contacts from different sources, they are synced automatically across all
the places you need them.

» To view your contacts, touch the People icon Cy onaHome or All Apps screen.
The first time you launch People, you're asked to sign in or create an account. Then the app opens to the

main list of your contacts. You can view them in three ways from the tabs at the top of the screen:
Groups e@ , All @ , and Favorites yy:

Swipe your finger left or right to move between tabs, and up or down to scroll through the lists.

From any of the main views, you can

» See who's available. Contacts who are currently online and accessible via Google Talk or other )
networks are labeled Available and marked with a green dot

» Read details. Touch a name to see details for a contact or group.

> View recent activity. When viewing a contact, swipe right or touch a connection profile, such as
Google+, to see recent updates.
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> Edit details. While viewing a contact, touch the Menu icon m& and choose options to edit or share
contact details, set ringtone, and so on. You can also touch the star beside the Menu icon to add a

contact to your Favorites list.

> Change your settings. While viewing the main list screen, touch the Menu icon & to import or
export contacts, choose display options for the Groups and All tabs, and add or edit accounts.

No matter where you are within People, you can always get back to the main lists by touching the icon in
the top left corner of the screen.

Related topics

Why use a Google Account?

af
Case 5:12-cv-00630-LHK Document 17-5 Filed 02/08/12 Page 32 of 50

Manage your Calendar

28

The Calendar app lets you view and edit your schedule.

When you first set up your phone, you configured it to use an existing Google Account (such as Gmail), or
you created a new one. The first time you open the Calendar application on your phone, it displays any
existing calendar events from that Google Account on the web. As you edit events from any mobile
device or web browser, they are synced automatically across all the places you need them.

To view your Calendar, touch “ce ona Home or App screen.

To change the Calendar view, touch the date at the top and choose Day, Week, Month, or Agenda.
Swipe to scroll vertically or horizontally. In the Day or Week views, spread your fingers apart or pinch
them together to zoom in or out.

From any of these views, you can
> Read or edit event details. Touch an event to view its details.

> Manage events and calendars. Touch icons across the top or Menu to search or create events,
return to today, or adjust settings.

Related topics

Why use a Google Account?
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Use your Camera

The Camera app is a combination camera and camcorder that actually consists of two cameras, one
facing back ( toward you) and one facing forward (away from you). The forward-facing camera includes a
Panorama mode that allows you to create a single image by panning across a scene.

You can view photos and videos you take with Camera in the Gallery app (e . Your personal videos are
also available in the Videos app aoe , along with movies that you rent or download.

To take pictures and videos, first touch the Camera icon lea ona Home or All Apps screen.

When Camera opens, you can
» Take a picture: Touch the blue button.

> View the most recently taken picture: Touch the thumbnail near the blue button,

You can now share the picture by touching the Gmail, Google+, Messenger, or other icons displayed
along one side of the image.

To view this picture and others in the Gallery app, touch the picture.

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While Camera is open, you can also touch these icons to adjust its settings:

Icon Name Description

Cj Mode Switch among camera, video, and panorama modes.

Switch Toggles between cameras on the front and back of the phone.
Camera

be Zoom Touch & hold, then slide to zoom in and out.

co Settings Reveals additional icons that you can use to set exposure, flash, focus, scene
mode, white balance and other settings.
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Beam screen content

You can beam a web page, a video, or other content from your screen to another device by bringing the
devices together (typically back to back).

Before you begin: Make sure both devices are unlocked, support Near Field Communication (NFC), and
have both NFC and Android Beam™ turned on.

Follow these steps:

1 Openascreen that contains something you'd like to share, such as a Browser page, YouTube video,
or place page in Maps,

Move the back of your phone toward the back of the other device.

When the devices connect, you hear a sound, the image on your screen reduces in size, and you see
the message Touch to beam.

4  Jouch your screen anywhere.

Your friend's device displays the transferred content. Or, if the necessary app isn't installed, Android
Market! opens to a screen where your friend can download the app.

Related settings
Settings > Wireless & networks > More > NFC

Settings > Wireless & networks > More > Android Beam

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Manage downloads

32

Files, apps, and other items you download from Gmail, Email, Android Market, or in other ways are stored
in your device's internal storage. You can use the Downloads app to view, reopen, or delete what you've
downloaded.

Some mobile networks restrict the size of the files you can download, to manage the demands on their
networks or to help you avoid unexpected charges. When you try to download an oversized-file when
connected to such networks, you may be required to delay downloading until your device is connected to
a Wi-Fi network, when the download will resume automatically. You can view and manage these queued
files in the Downloads app as well.

Downloaded files are stored in the Download directory that's visible when your device is connected to a
computer. You can view and copy files from this directory.

Open Downloads and manage downloaded files
@ Touch the Downloads icon © froma Home or All Apps screen.

@ = louch an item to open it.

@ ouch headings for earlier downloads to view therm.

@ Check items you want to share. Then touch the Share icon < and choose a sharing method
from the list.

@ Check items you want to delete. Then touch the Trashicon ™& .

@ At the bottom of the screen, touch Sort by size or Sort by date to switch back and forth.
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Tune performance

Optimize battery life

You can extend your battery's life between charges by turning off features that you don't need. You can
also monitor how apps and system resources consume battery power.

To adjust the settings described here, first touch the Settings icon Ea ona Home or All Apps screen.

Extend the life of your battery

If you aren't using Wi-Fi, Bluetooth, or GPS, use the Settings app to turn them off. The GPS setting is
located in Settings > Personal > Location services.

Don't leave the Maps or Navigation apps open on the screen when you're not using them. They use
GPS (and thus more power) only when they're running.

Turn down screen brightness and set a shorter Sleep timeout: Settings > Device > Display.

If you don't need it, turn off automatic syncing for all apps: Settings > Personal > Accounts &
sync. Note that this means you need to sync manually to collect messages, email, and other recent
information, and won't receive notifications when updates occur.

If you know you won't be near a mobile or Wi-Fi network for a while, switch to Airplane mode:

Press and hold the power switch until the Phone options dialog appears. Then touch Airplane
Mode.

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Warning!

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Check battery level and usage details
@ Open Settings > Device > Battery.

The list at the bottom of the screen shows the breakdown of battery usage for individual apps and
services, Touch a graph for more details. The details screen for some apps includes buttons that allow
you to adjust settings affecting power usage, or stop the app completely.

If you stop some apps or services, your device may not work correctly.

Battery status (charging, discharging) and level (as a percentage of fully charged) are displayed at the
top of the screen.

The discharge graph shows battery level over time since you last charged the device, and how long
you've been running on battery power.
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Optimize data usage

Warning!

Data usage refers to the amount of data uploaded or downloaded by your device during a given period.
Depending on the device and your wireless plan, you may be charged additional fees when your data
usage exceeds your plan's limit.

To monitor your data usage, adjust your data usage settings. First check your plan and determine what
data limits may apply.

The usage displayed on the data usage settings screen is measured by your phone. Your carrier's data usage
accounting may differ. Usage in excess of your carrier plan's data limits can result in steep overage charges. The
feature described here can help you track your usage, but is not guaranteed to prevent additional charges.

Data usage settings allow you to:
@ Set the data usage level at which you'll receive a warning.
@ Set adata usage limit.

@ View or restrict data usage by app.

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To adjust the settings described here:
1 Touch the Settings icon ona Home or All Apps screen.

2 Touch Wireless & networks > Data usage.

By default, you see the settings for mobile data: that is, the data
network or networks provided by your carrier:

It's possible to show Wi-Fi data usage settings in a separate tab. To do so,
touch the Menu icon a, then Show W-Fi usage.

Near the top of the screen, note the on-off switch for mobile data. The
instructions that follow assume that this switch is turned on. If it's off,
you won't be able to use mobile data at all and many features of your
phone and apps won't work correctly.

Just below the on-off switch, note the data usage cycle. Touch it to
choose a different cycle. This date range is the period of time for which
the graph displays data usage.

The vertical white lines on the graph show a period of time within the
data usage cycle. This range determines the usage amount displayed
just below the graph. Drag lines to change the period.

Set data usage warning

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» Drag the orange line by its right side to the level where you want to receive a warning.

When your data usage reaches this level, you'll receive a notification.

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Set data usage limit

1 Check Set mobile data limit.
A dialog appears that describes the limit you're setting.

2 Read the message. If you're willing to proceed, click OK.
The red line at the top of the graph activates, so you can drag it up or down.

3 Drag the red line by its right side to the limit you want to set.

When your data usage reaches the limit, mobile data will be turned off automatically and many
features of your phone won't work correctly. You'll receive a notification when this occurs.
Important The usage displayed on the data usage settings screen is measured by your phone. Your carrier's data usage account-
ing may differ. Usage in excess of your carrier plan's data limits can result in steep overage charges. The feature

described here can help you track your usage, but is not guaranteed to prevent additional charges. For best results, set a
conservative limit.

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View or restrict data usage by app

Some apps transfer data in the background; that is, when you're not actually using the app, it may
download data for future reference. Restricting background data usage for individual apps can
sometimes be a useful way to reduce your overall data usage. However, this is a drastic measure that
may also affect the app's performance or cause it to malfunction. Check whether data usage can be
restricted from the app's own settings (available from within the app) before restricting it here.

1 Make sure you're viewing the network for which you want to view or restrict app data usage. If more
than one is displayed, you can switch between them by touching tabs at the top of the screen.

2 Scroll down to find the app whose data usage you want to view.

The blue bar for each app indicates its total data usage for the cycle displayed above the main
graph, near the top of the screen.

3  Tosee more details for an app, touch its name.

The main graph switches to show just this app's data usage for the specified cycle. Below the main
graph, a pie chart breaks out foreground versus background data usage for this app.

To stop background data usage for this app, check Restrict background data.

5 Read the message that appears. If you're willing to proceed, click OK.
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Advanced data usage settings

Two other settings available from the Menu icon can have dramatic effects, but may sometimes be
useful:

@ Data roaming can result in steep additional charges. However, in some locations this may be the
only way to connect to the Internet.

@ Restrict background data affects all your apps across all available networks, and may cause
some features to stop working. This is an extreme step that should be used with caution.

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Optimize memory usage

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You typically don't need to worry about managing apps beyond installing, opening, and using them. But
there may be times when you want to know more about what's happening behind the scenes.

Apps use two kinds of memory: internal storage and RAM. They use internal storage for themselves and
any files, settings, and other data they use. They also use RAM (memory designed for temporary storage
and fast access) when they're running.

Android manages and carefully guards the portion of internal storage where the system, apps, and most
data for those apps are stored, because this area may contain your private information. It's not possible
to view this portion of internal storage when you connect your device to a computer with a USB cable.
The other portion of internal storage, where music, downloaded files, and so on are stored, remains
visible for your convenience.

Android also manages how apps use RAM. It may cache some things you've been using recently, for
quicker access if you need them again, but it will erase the cache if it needs the RAM for new activities.

You affect the way apps use internal storage directly and indirectly in many ways; for example, by:
@ Installing or uninstalling apps.
@ Downloading files in Browser, Gmail, and other apps.
@ Creating files (for example, by taking pictures).
@ Deleting downloaded files or files you created.
@ Copying files between your device and a computer via USB or Bluetooth.

You rarely need to manage the way apps use RAM. But you can monitor apps' RAM usage and stop them
if they misbehave.
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Use the Apps screen

The Apps screen allows you to adjust several aspects of the way your device uses memory. To view these
settings:

1 FromaHome or All Apps screen, touch the Settings icon
2 Under Device, touch Apps.

You'll see three tabs at the top of the screen, each displaying a list of apps or their components:
@ Downloaded. Displays apps you've downloaded from Market or other sources.

@ Running. Displays all apps, processes, and services that are currently running or that have cached
processes, and how much RAM they are using.
The graph at the bottom of the Running tab shows the total RAM in use and the amount free. Below
the graph, touch Show cached processes or Show running services to switch back and forth.
@ All. Displays all apps that came with Android and all apps you downloaded from Android Market or
other sources.

To switch the order of the lists displayed in the Downloaded or All tabs, touch Menu icon b > Sort by
name or Sort by size.

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To view details about an app or other item listed under any tab, touch its name. The information and
controls available vary among different types of apps, but commonly include:

@ Force stop button: Stops an app that is misbehaving. Stopping an app, process, or service may
cause your device to stop working correctly. You may need to restart your device after doing this.

@® Uninstall button: Deletes the app and all of its data and settings.

@ Disable button: Prevents the app from running, but does not uninstall it. This option is available for
some apps and services that can't be uninstalled.

@ Clear data button: Delete an app's settings and other data without removing the app itself.

@ Clear cache: If the app stores data in a temporary area of the tablet's memory, lists how much
information is stored, and includes a button for clearing it.

@ Launch by default: If you have configured an app to launch certain file types by default, you can
clear that setting here.

@ Permissions: Lists the kinds of information about your tablet and data the app has access to.

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Learn the Phone app

Dial stored numbers

You can place calls from the Phone app € o the People app J. or other apps or widgets that display
contact information. Wherever you see a phone number, you can usually touch it to dial.

To dial using the Phone app:

@ Touch the Phone icon @ » onaHome or All Apps screen. wn

Notice the three tabs at the top of the phone. You can | re
make calls from any of them.

@ The Dialer tab lets you dial manually. Touch the keys
to enter the number, then touch the Phone icon q, below the keypad to dial.

If you enter a wrong number, touch <j to erase digits one by one.
To see numbers for all your contacts, touch eS. You can also search your contacts from here.

To dial an international number, touch & hold the O key to enter the plus (+ ) symbol. Then enter the
international prefix for the country, followed by the full phone number.

@ The Call log tab (Q) shows recent calls. Touch a call to return it.

@ The Favorites tab i shows the numbers you usually call. Touch to dial.

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You can switch applications during a call; for example, to look up information by using the Browser. The
green phone icon appears in the Status bar while the call is underway,

To return to the Phone app while a call is in progress:

1 Swipe down from the top of the screen to reveal your notifications.

2 Touch the green phone icon,

To end a callin progress, touch the End Call icon at the bottom of the screen.

Related topics

Dial by voice
Options during a call
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Answer or divert calls

Tip

When you receive a phone call, the Incoming Call screen opens, displaying the caller 1D and any
additional information about the caller that you've entered in People.

Allincoming calls are recorded in the Phone app's Call log tab. If you miss a call, you receive a
notification.

To silence the ringer before answering the call, press the Volume Down button on the side of your phone.

When a call arrives, touch the white phone icon and slide over one of these icons:

Answer call Start talking to the caller.

Send t é;
: ., Direct the caller to leave a voicemail message.
voicemail
Senda
Opens a list of default text messages. Touch one to send it to the caller immediately.
message

To edit text responses from within the Phone app, touch Menu icon 5 > Settings > Quick responses.

Related topic

Set ringtone & other sounds

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Work with the Call log

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The Call log is a list of all the calls you've placed, received, or missed. It provides a convenient way to
redial a number, return a call, or add a number to your Contacts.

Within the Phone app <,,. the Call log is under the middle tab (Y. Touch a number for more
information about the call, or touch the phone icon <. beside it to call back.

Arrow icons beside a call indicate the type of call. Multiple arrows indicate multiple calls:
@ (/ Missed incoming call
@  « Received incoming call
e Outgoing call
While viewing details for a call:
@ Touch the number to call it.
@ Jouch EF tosenda text message.
@ ouch ®@ toview contact details.
@ Touch @

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To clear the Call log:

_ to add a new People card for the caller.

1 Touch the Menu icon a.
2 Touch Clear Call Log.
